          Case 3:20-cv-08570-JD Document 367 Filed 10/21/22 Page 1 of 1




                        UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
                                           Civil Minutes


 Date: October 20, 2022                                                Judge: Hon. James Donato

 Time: 11 Minutes

 Case No.        3:20-cv-08570-JD
 Case Name       Klein v. Meta Platforms, Inc.

 Attorneys for Plaintiff:          Brian J. Dunne, Keith Verrier, Yavar Bathaee, Kyle Pozan,
                                   Brantley L. Pepperman, Kevin Teruya, and Hannah Song

 Attorneys for Defendants:         Sonal N. Mehta, David Gringer, and Molly M. Jennings

 Deputy Clerk: Jean Davis                                             Court Reporter: Marla Knox

                                         PROCEEDINGS

Status Conference -- Held

                                     NOTES AND ORDERS

The parties are directed to file a proposed case management schedule by November 4, 2022,
based on a trial date in the latter half of 2024. The proposal will include dates for a market
tutorial in the first quarter of 2023. The parties should follow the format for tutorials in the
Court’s standing order for claim construction in patent cases.

For Dkt. No. 348, Meta’s request to depose former plaintiff Joshua Jeon is denied for the reason
stated on the record, and the deposition subpoena is quashed.

A status conference is set for January 19, 2023, at 10:00 a.m., which the parties may cancel at
their joint request.




                                                  1
